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11                                 UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF CALIFORNIA
12                                SAN FRANCISCO-OAKLAND DIVISION
13

14   AMERICAN CIVIL LIBERTIES UNION
     FOUNDATION, et al.,                         Case No. 19-CV-00290-EMC
15
                    Plaintiffs,                  MOTION FOR PUBLIC RELEASE OF
16                                               HEARING TRANSCRIPT
17          v.
                                                 Courtroom:   5
18   DEPARTMENT OF JUSTICE, et al.,              Judge:       Hon. Edward M. Chen

19                  Defendants.
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                       MOTION FOR PUBLIC RELEASE OF HEARING TRANSCRIPT
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 1          Pursuant to Local Rule 7-11, Plaintiffs respectfully request that the Court publicly release

 2   a transcript, with redactions where appropriate under the Freedom of Information Act (FOIA), of

 3   the ex parte, in camera hearing held on Friday, September 17, 2021 at 10:30am. ECF No. 139,

 4   141. Defendants oppose this request.

 5          The hearing concerns the parties’ pending cross motions for summary judgment as to

 6   Defendants U.S. Customs and Border Protection, U.S. Immigration and Customs Enforcement,

 7   and U.S. Citizenship and Immigration Services. ECF Nos. 98, 108-09, 126-29, 133-34. At this

 8   hearing, the Court and Defendants’ counsel were to “go over all the redactions” in documents at

 9   issue where the government has asserted the deliberative process privilege under FOIA

10   Exemption 5. 5 U.S.C. § 552(b)(5); ECF. No. 139.

11          The release of a transcript accords with the public’s right of access to court proceedings

12   and directly furthers FOIA’s underlying purpose.

13          The public enjoys a qualified First Amendment and common law right of access to

14   judicial documents such as transcripts. Press-Enterprise Co. v. Superior Ct. of Cal., 478 U.S. 1,

15   8-9 (1986); Kamakana v. City and Cty. of Honolulu, 447 F.3d 1172 (9th Cir. 2006). This right

16   “applies fully” to documents relating to dispositive civil pleadings, because “the resolution of a

17   dispute on the merits, whether by trial or summary judgment, is at the heart of the interest in

18   ensuring the public’s understanding of the judicial process and of significant public events.”

19   Kamakana, 447 F.3d at 1179 (citations omitted). The presumption of public access can be

20   overcome only for “compelling reasons,” id., and based on “specific, on the record findings.”

21   Press-Enterprise, 478 U.S. at 13-14.

22          The public’s right of access to judicial documents requires the disclosure of a transcript

23   of the ex parte and in camera hearing, with redactions where appropriate under FOIA. Release of

24   the transcript directly furthers FOIA’s basic purpose: “to ensure an informed citizenry, vital to

25   the functioning of a democratic society, needed to check against corruption and to hold the

26   governors accountable to the governed.” John Doe Agency v. John Doe Corp., 493 U.S. 146, 152

27   (1989) (citation omitted). Here, where the transcript at issue relates to dispositive motions and

28   Defendants’ withholding of records regarding surveillance of First Amendment-protected
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                        MOTION FOR PUBLIC RELEASE OF HEARING TRANSCRIPT
                                    CASE NO. 19-CV-00290-EMC
          Case 3:19-cv-00290-EMC Document 142 Filed 09/17/21 Page 3 of 3



 1   speech, and where Defendants already have had multiple opportunities to justify their

 2   withholdings on the record, furthering FOIA’s basic purpose is particularly important.

 3          For these reasons, Plaintiffs respectfully ask that the Court publicly release a transcript of

 4   the ex parte and in camera proceeding with redactions where appropriate pursuant to FOIA.

 5   Further, if the transcript remains sealed, Defendants should be directed to publicly describe their

 6   answers more fully, including disclosure of which of the Court’s questions they answered as well

 7   as the issue or document to which the answer is addressed. That sort of disclosure would help

 8   more properly balance any need for secrecy with the public’s right of access.

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10                                              Respectfully submitted,

11    DATED: September 17, 2021                   /s/ Matthew Cagle
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                                    CASE NO. 19-CV-00290-EMC
